Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 1 of 13

  

File
Number:

2013/00225983-1

case Title: Craig Steven Wright v W&K Info Defense Research LLC

urisdiction: Supreme Court - Civil
ocation: Supreme Court Sydney

Jivision/List: Common Law General

USE OF .
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ATE | CORAM APPEARANCES

RESULTS OR ORDERS MADE

 

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Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 2 of 13

 

  

SUPREME COURT OF NSW

 

 

yy “

 

 

 

 

Date: 06 November 2013 Reference no. <2.
Coram: Acting Registrar R Kenna |

Listing: Directions (Common Law Registrar)

Case Details: Craig Steven Wright v W&K Info Defense Research LLC
2013/00225983

Appearance(s)

 

Listed for hearing on at 10am. Estimate of hearing

Piease indicate the following listing type/s below:
C) Directions (Common Law Registrar) at 9am
C] Argument at 9.30am (Defarnation List before Defamation Judge)

C] Defamation matter - Election for Trial by Jury made by
Registry to issue an invoice for Requisition for Trial by Jury.

CM Directions Common Law at 10am (Duty Judge's list.)

C Directions (Possession Judge) at 9.30am.

C] Directions Professional Negligence Judge at 9am (1* Friday of each month)
C) Status Review at 9am before Common Law Registrar.

[J Rule 13.6 letter to be issued. (Notice of listing - No appearance)

(Please tick below appropriately)
C] Jury MoOverseas witness ( Interstate witness [ Country witness

[J Non-jury CINot Reached Once
C Assessment only CINot Reached Twice
[J Liability only CiNew Trial Ordered

C1 Interlocutory/Motion Cl Expedited
C] Defamation -s 7A MReduced Life Expectancy

[1 Defamation - Final (Other priority reasons (please specify) %
(Veuns fee of 1] P RO4 IAMS PA )
Other orders or directions:

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please turn over ...

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Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 3 of 13

_COMMON LAW REGISTRAR’S CASE MANAGEMENT ORDERS

O 1. Make orders to enable Expert evidence to be given concurrently.
[| 2. The Plaintiff to file and serve an Evidentiary Statement by

L] 3. The Defendant/ Defendants to file and serve a Statement of Issues in Dispute within 28 days of receipt
of the Plaintiffs Evidentiary Statement.

[] 4. Each Defendant to notify the plaintiff within 28 days of receipt of the evidentiary statement of those
parts of the statement, which the Defendant requires to be given orally.

[| §. The Plaintiff is to serve on each party within 14 days of the receipt of the Statement of Issues in Dispute
a statement identifying these issues, which are agreed and not agreed.

(| 6. The Plaintiff is to file and serve a Statement of Damages by

(| 7. The Defendant/Defendants is/are to file and serve a Statement of Damages by

[| 8. Experts in their respective areas of expertise are to confer and provide a report on matters agreed and
disagreed setting out the reasons for their disagreement. Such conference is to take place by

[| 9. The report from the Experts is to issue by

Li 10. Pursuant R31.4 UCPR | direct that the Plaintiff is to serve on each active party a written statement or
statements of the oral evidence that the Plaintiff or any other witness on the Plaintiff's behalf intends to
adduce in chief on all questions of fact to be decided at the hearing, on or before

(! 44. Pursuant to R34.4 UCPR | direct that the Defendant /Cross Claimant is to serve on each active party
a written statement or statements of the oral evidence that the defendant /cross claimant or any other witness
on behalf of the Defendant/Cross Claimant intends to adduce in chief on all questions of fact to be decided at
the hearing, on or before

(1 12. | direct that all parties serve, pursuant to R31.4 UCPR statements except for the above statements on
each other active party, containing all statements of the oral evidence which the parties intend to adduce in
chief on all questions of fact at the hearing on or before

L] 13. Parties to advise within days of receipt of the witness staternents of those
parts of the statements they require to be given orally,

(] 14. Parties to file and serve a Final Joint Memorandum of Issues in Dispute by

[] 45. List the matter for a Telephone Conference on

 

 

 

DEF_00001972
Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 4 of 13

Valentina To craigswright@acm.org
Ortakovska/SCO/NSW_AG
03/09/2013 03:02 PM °
bec
Subject RE: proceeding number 2013/ 225983
Dear Mr Wright,

Please be advised that the Consent Order filed on 28/8/2013 was not dealt by Registrar in chamber.
The listing date of 30/10/2013 still remains and all parties needs to be present in court on that day.

Regards

Valentina Ortakovska
Senior Client Service Office
Supreme Court of NSW

DEF_00001973
 

Date: 30 October 2013 Reference no.

Coram: Registrar C Bradford
Listing: Directions (Common Law Registrar)

Case Details: Craig Steven Wright v W&K Info Defense Research LLC
2013/00225983

Appea ran ce(s) , eee he se > a

Listed for hearing on _ at 10am. Estimate of hearing

Please indicate the following listing type/s below:
Ci Directions (Common Law Registrar) at 9am
[ Argument at 9.30am (Defamation List before Defamation Judge)

C} Defamation matter - Election for Trial by Jury made by
Registry to Issue an invoice for Requisition for Trial by Jury.

C] Directions Common Law at 10am (Duty Judge's list.)

[] Directions (Possession Judge) at 9.30am.

CJ Directions Professional Negligence Judge at 9am (1° Friday of each month)
[] Status Review at 9am before Common Law Registrar.

Cl Rule 13.6 letter to be issued. (Notice of listing - No appearance)

(Please tick below appropriately)

Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 5 of 13

f

Cl Jury MOverseas witness ( Interstate witness O Country witness

C) Non-jury CINot Reached Once

] Assessment only [CINot Reached Twice

[I Liability only CNew Trial Ordered

[1 interlocutory/Motion CI Expedited

C Defamation -s 7A MReduced Life Expectancy

Cl Defamation - Final []Other priority reasons (please specify)

Other orders or directions:

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Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 6 of 13

COMIVON LAW REGISTRAR’S CASE MANAGEMENT ORDERS

(] 1. Make orders to enable Expert evidence to be given concurrently.
(J 2. The Plaintiff to file and serve an Evidentiary Statement by

(| 3. The Defendant/ Defendants to file and serve a Statement of Issues in Dispute within 28 days of receipt
of the Plaintiffs Evidentiary Statement.

[] 4. Each Defendant to notify the plaintiff within 28 days of receipt of the evidentiary statement of those
parts of the statement, which the Defendant requires to be given orally.

(] §. The Plaintiff is to serve on each party within 14 days of the receipt of the Statement of Issues in Dispute
a staternent identifying those issues, which are agreed and not agreed.

[] 6. The Plaintiff is to file and serve a Statement of Damages by

[) 7. The Defendant/Defendants is/are to file and serve a Statement of Damages by

(1 8. Experts in their respective areas of expertise are to confer and provide a report on matters agreed and
disagreed setting out the reasons for their disagreernent. Such conference is to take place by

L] 9. The report from the Experts is to issue by

L] 10. Pursuant R31.4 UCPR | direct that the Plaintiff is to serve on each active party a written statement or
statements of the oral evidence that the Plaintiff or any other witness on the Plaintiff's behalf intends to
adduce in chief on all questions of fact to be decided at the hearing, on or before

] 11. Pursuant to R31.4 UCPR | direct that the Defendant /Cross Claimant is to serve on each active party
a written statement or statements of the oral evidence that the defendant /cross claimant or any other witness
on behalf of the Defendant/Cross Claimant intends to adduce in chief on all questions of fact to be decided at
the hearing, on or before

[| 12. | direct that all parties serve, pursuant to R31.4 UCPR statements except for the above statements on
each other active party, containing all staternents of the oral evidence which the parties intend to adduce in
chief on all questions of fact at the hearing on or before

L] 13. Parties to advise within days of receipt of the witness statements of those
parts of the statements they require to be given orally.

(] 14. Parties to file and serve a Final Joint Memorandum of issues in Dispute by

[| 45. List the matter for a Telephone Conference on

 

 

 

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neiofeaSe 9:18-cv-80176-BB Document 550-Asiknkeved appa D Docket 06/01/2020 Page 7 of 13

 

 

Listing Detalls

Heard at: 06/21/2013 by: Acting Registrar R Kenna;
Supreme Court Sydney
Supreme Court ~ Civil

 

2013/00228983-001 Acting Registrar R Kenna Otrections (Commen Law Registrar} Craig Staven Wright v WEAK Info Defense Research LL OS: 00 AM 3 MINUTES

 

 

View Outcome Text

 

 

Bate of Listing: G6 Nov 2023 before Acting Registrar P Kenna at Suprame Court - Civil, Suprerie Court Sydney

: YikK Onfs Oeferme Research LLC, Gefendant , No Appearance
: Weight, Craig Stevan, Plaintiff, No Appearance

 

 

 

OndersJudarnent

4. Judgment in the sum of $28,254,666.00 in favour of the plaintiff.

2. No order as to costs.

3. The court notes the agreement of the parties that the plaintiff will accept the transfer of Intellectual
property held by the plaintiff in full and final satisfaction of the judgment.

4. A deed of transfer for the intellectual Property is to be completed before 01 Sept 2013.

(iD 25837158)

 

Record Outcome i Edit Outcome | Close i

 

 

hitp:/justicelink.internal justice.nsw gov. au/jlink/outcome/viewQuicome.do?caseProceedingN um= 201300225983&outcomeld= 16621089

4A
DEF_00001976
Form 44 (version 2)
UCPR 36.1A

COURT DETAILS
Court

Division

List

Registry

Case number

TITLE OF PROCEEDINGS

Plaintiff

Defendant

 

PREPARAT
Filed for

Contact name and telephone

Contact email

 

FILED
28 AUG 20
. a
CONSENT ORDER
NSW Supreme Court
General Division Common Law
General
Sydney
2013 / 225983

Craig Steven Wright (ABN 97 481 146 384)

W&iK INFO DEFENSE RESEARCH LLC

Craig S Wright

Plaintiff

Craig S Wright

0417 683 914

Craig S Wright (craigswright@acm.org)

TERMS OF ORDER MADE BY THE COURT BY CONSENT

Orders/Judgment:

1. Judgment in the sum of $28,254,666.00 in favour of the plaintiff.

2. No order as to costs.

3. The court notes the agreement of the parties that the plaintiff will accept the transfer
of Intellectual property held by the plaintiff in full and final satisfaction of the
judgment.

4, A deed of transfer for the Intellectual Property is to be completed before 01Sept
2013.

DEF_00001977
Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 9 of 13
2
SIGNATURES |

Plaintiff
The plaintiff consents.

 

Signature of plaintiff & Coy “
Craig S Wright

Capacity Plaintiff

Date of signature 28" Aug 2013

Defendant
The defendant consents.

 

Signature of or on behalf of party
if not legally represented

Capacity Authorised officer
Date of signature 28" Aug 2013

zx

Po

  

 

/| | ; i\ f
NY
___4 Wilson consents.
SEAL AND SIGNATURE
Court seal
Signature
Capacity

Date made or given

Date entered
‘NOTICE

Subject to limited exceptions, no variation of a judgment or order can occur except on
application made within 14 days after entry of the judgment or order.

DEF_00001978
Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 49/o618 iy

( a Yue, .
RG Bradford
FILED *

18 AUG 208
Form 35 (version 2)

UCPR 20.34 G

ACKNOWLEDGEMENT OF LIQUIDATED CLAIM

 

  

LS
Court | NSW Supreme Court
Division General Division Common Law
List General
Registry Sydney

     
 

Case number 2013 / 225983

 

Plaintiff Craig Steven Wright (ABN 97 481 146 384)

Defendant W&K INFO DEFENSE RESEARCH LLC

    

Filed for Defendant
Contact name and telephone Dr C Wright, 02 8003 7553

 

q | am the legal agent and representative for the defendant.

2 | acknowledge the whole of the amount being claimed by the plaintiff.

   

et

Signature _ . ae Y : “
Capacity Defendant

Date of signature 19" August 2013

DEF_00001979
Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 11 of 13

y

2

  
  

[include your contact details if you have not previously given this information to the court. Do not include the

 

contact details for any other parties.]

Filing party |

~ ( yy f Pe RA
Name W&K INFO DEFENSE RESEARCHLLC 4 / oi
Address Bagnoo NSW 2446

Contact details for filing party acting in person or by authorised officer

Name of authorised officer
Capacity to act for filing party Director / Australian Agent

Address for service as above
[The filing party must give an address for

service. This must be an address in

NSW unless the exceptions listed in

UCPR 4.5(3) apply. State “as above" if

the filing party’s address for service is

the same as the filing party's address

stated above]

Telephone 02 8003 7553

Email craig@integys.com

%

i
we

DEF_00001980
Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 12 of 13

Delivery Failure Report

Your . :
document: RE: proceeding number 2013/ 225983

was not
delivered to:

because: 550 #5.1.0 Address rejected.

craig@integys.com

What should you do?

* You can resend the undeliverable document to the recipients listed above by choosing the Resend button or
the Resend command on the Actions menu.

* Once you have resent the document you may delete this Delivery Failure Report.
# if resending the document is not successful you will receive a new failure report.

# Unless you receive other Delivery Failure Reports, the docurnent was successfully delivered to all other
recipients.

Routing path .
GOODMDG1/Server/NSW_AG, SUPRMDM1/Server/NSW_AG

 

To: craig@integys.com
cc:
Date: 03:24:50 PM Today

Subject: RE: proceeding number 2013/ 225983
Dear Craig,

Please be advised that the Consent Order filed on 28/8/2013 was not dealt by Registrar in chamber.
The listing date of 30/10/2013 still remains and all parties needs to be present in court on that day.

Regards
Valentina Ortakovska
Senior Client Service Office

Supreme Court of NSW

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message in error please delete and notify the sender. When communicating by email you
consent to the monitoring and recording of that correspondence.

DEF_00001981
Case 9:18-cv-80176-BB Document 550-5 Entered on FLSD Docket 06/01/2020 Page 13 of 13

Delivery Failure Report

Your . :
document: RE: proceeding number 2013/ 225983
was not Lm:

delivered to: craig@integys.com

because: 550 #5.1.0 Address rejected.

What should you do?

@ You can resend the undeliverable document to the recipients listed above by choosing the Resend button or
the Resend command on the Actions menu.

® Once you have resent the document you may delete this Delivery Failure Report.
@ If resending the document is not successful you will receive a new failure report.

# Unless you receive other Delivery Failure Reports, the docurnent was successfully delivered to all other
recipients.

Routing path _
GOODMDG 1/Server/NSW_AG, SUPRMDM1/Server/NSW_AG

 

To: craig@integys.corn
cc:
Date: 03:04:09 PM Today

Subject: RE: proceeding number 2013/ 225983

Dear Craig
Please be advised that the Consent Order filed on 28/8/2013 was not dealt by Registrar in chamber.

The listing date of 30/10/2013 still remains and all parties needs to be present in court on that day.

Regards
Valentina Ortakovska
Senior Client Service Office

Supreme Court of NSW

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consent to the monitoring and recording of that correspondence.

DEF_00001982
